                           EXHIBIT 1


                  Declaration of Robert Blouin




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                 IN THE UNITED ST ATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                         Plaintiff,
v.                                      CASE NO. l:14-CV-954

THE UNIVERSITY OF NORTH
CAROLINA et al.,
                         Defendants.


                     DECLARATION OF ROBERT BLOUIN




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              I, Robert Blouin, hereby make this declaration from my personal

knowledge and, if called to testify to these facts, could and would do so competently:

I.      Background and Role at the University

        1.    I am the Executive Vice Chancellor and Provost at The University of North

Carolina at Chapel Hill (the "University"). I serve as the University's Chief Academic

Officer and its Chief Operating Officer with oversight responsibilities for budget and

planning. I am also the UNC Eshelman School of Phannacy's Bryson Distinguished

Professor.

        2.    I received my undergraduate degree from the Massachusetts College of

Phannacy in 1975, and a PhannD from the University of Kentucky College of Phannacy

in 1978.

        3.    From 1978 to 2003, I served as a faculty member and an administrator at

the University of Kentucky College of Pharmacy. Specifically, I served as Associate

Dean for Research and Graduate Education and Executive Director of the Office for

Economic Development and Innovations Management.

        4.    I joined the University's Eshelman School of Phannacy in 2003 as its

Dean.

        5.    In September 2017, I became the University's 15th Executive Vice

Chancellor and Provost, succeeding James W. Dean, Jr. In this role, I report directly to

Chancellor Carol L. Folt.

        6.    As Executive Vice Chancellor and Provost, I have oversight responsibilities

for admissions and financial aid, budget and planning, student and health affairs, and the

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University's workforce. My office also oversees a number of committees, centers, and

programs on campus.

       7.     As the Chief Academic Officer, I lead the University in its academic

planning and in setting academic policies and practices to further its mission of preparing

the next generation of leaders. In order to accomplish this objective, we must ensure that

our students have access to an education that enables them to adapt in a time of

unprecedented growth in human knowledge and technological change.

       8.     The deans of all of the academic units within the University report to me,

and I regularly meet with and provide guidance to the deans of each professional school

and the College of Arts and Sciences. I work with the deans in shaping the academic

vision of each school, ensuring that the school's academic plan, policies, and practices

further the University's mission. I also receive feedback from the deans about the

academic and classroom experience of the students within their schools.

       9.     My role also includes oversight of enrollment at the University, as well as

the processes on which enrollment depends, such as admissions and student aid. Stephen

Fanner, Vice Provost for Enrollment and Undergraduate Admissions, is responsible for

the Office of Undergraduate Admissions and the Office of Scholarships and Student Aid.

Mr. Fanner is a member of my Provost's Cabinet and reports directly to me. I regularly

receive updates from Mr. Farmer on the status and results of the undergraduate

admissions process, as well as student aid.

       10.    Additionally, Christi Hurt, Interim Vice Chancellor and Chief of Staff for

Student Affairs, reports directly to me. Prior to Ms. Hurt assuming this position, Winston

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Crisp, Vice Chancellor for Student Affairs, reported to me until his retirement in October

2018. Student Affairs collaborates with our academic units to meet the needs of the

student body, including sustaining an inclusive and supportive campus enviromnent

through student programs and services. Infonnation I receive from Ms. Hurt and the

Student Affairs office also provides me with insight about the student body and campus

enviromnent.

       11.     Felicia Washington, Vice Chancellor for Workforce Strategy, Equity and

Engagement, reports to me as well. Vice Chancellor Washington oversees the

University's offices of Human Resources, Equal Opportunity and Compliance, and

Diversity and Inclusion. These offices strive to make our campus a welcoming

enviromnent. The Office of Diversity and Inclusion is led by Rumay Alexander, the

University's Chief Diversity Officer.

       12.     I also chair the University's Budget Cmmnittee. In this role, I make major

resource allocation decisions regarding State funding and overhead funds. I prepare

budget requests for academic and capital projects for submission to and consideration by

the UNC System Office. I also provide budgetary oversight to the dean of each school

and to the directors of centers and institutes at the University. I co-chair the Tuition and

Fees Advisory Task Force, which develops proposals for tuition and fees for the

following fiscal year.

       13.     As part of my leadership of the University's academic planning and vision,

I serve as a non-voting representative of the Faculty Council. The Faculty Council is the

main faculty governance body that has the primary responsibility for setting University-

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wide educational policies. It establishes policies on a variety of campus-wide issues

including curricula and programs of study. The Faculty Council also develops admissions

policies and procedures and ensures that they are consistent with the UNC System's and

Board of Trustees' policies. I attend Faculty Council meetings and serve in a consultative

role, including reviewing resolutions under consideration by the Faculty Council.

        14.    In December 2017, I convened the Educational Benefits of Diversity and

Inclusion Working Group. The group coordinates and enhances the assessment of the

University's ongoing efforts to realize the educational benefits of diversity and inclusion

for its undergraduate students.

II.     The University's Commitment to Diversity is Grounded In Our Mission

        A.     At the core of the University's mission and academic principles is a
               commitment to diversity and to the educational benefits of diversity.

         15.   The University exists "to teach a diverse community of undergraduate,

graduate, and professional students to become the next generation ofleaders." (Ex. 32

(The Mission Statement of the University of North Carolina, Chapel Hill),

UNC0323722.)

         16.   As the nation's first public university and North Carolina's flagship public

institution, the University recognizes that it has a special responsibility to "foster the

success and prosperity of each rising generation" and "to improve society and to help

solve the world's greatest problems." (See id.)




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       17.    The University's commitment to diversity stems from its mission to bring

its expertise to bear for the benefit of the state of North Carolina and beyond and to

eliminate barriers to accessing higher education.

       18.    Moreover, since its inception, the University has been instrumental in

helping the state, region, and world solve important problems. We know that solving the

critical societal questions facing the next generation will require the talents of diverse

students and graduates, working together.

       19.    The University's strategic framework, Blueprint for Next, reflects the

University's commitment to the citizens of North Carolina and to the provision of

excellence in public higher education. The University's Board of Trustees endorsed the

Blueprint for Next in January 2017. The Blueprint for Next identifies the priorities that

will guide the University's decision-making for the next ten years.

       20.    As the University's mission statement and strategic framework illustrate,

diversity is a deeply held value. Our commitment to diversity also reflects the

University's proven understanding and experience that diversity yields enlightening,

lasting, and transfonnational educational benefits.

       B.     The University's belief that substantial educational benefits result from
              learning in a diverse environment aligns with its experience and stated
              commitments over time.

       21.    The University defines diversity broadly. Dimensions of diversity include

race, ethnicity, religion, sexual identity, physical ability, veteran status, first generation

college/high school status, socioeconomic status, political orientation, age, citizenship,

and many other elements of individual differences.

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        22.    As Provost, and previously as an academic dean and member of the faculty,

I have observed the ways in which our students and the entire University community

benefit from learning, living, and interacting in a diverse and inclusive environment.

There is no doubt that diversity produces meaningful and real educational benefits for

members of the University community.

        23.    The University's faculty have long recognized the educational benefits of

diversity that students acquire in the classroom, and our faculty believe these benefits are

critically important to the education of our students.

        24.    On April 15, 2016, the Faculty Council enacted Resolution 2016-12 "On

Commitment to Diversity and Inclusion." (Ex. 33 (Faculty Council Resolution 2016-12 -

On Commitment to Diversity and Inclusion), UNC028326.)

        25.    The Faculty Resolution reaffinns the faculty's commitment to the values of

diversity and inclusion, stating in part:

        We recognize that student body diversity is a vital and necessary
        component of academic excellence, and we believe that we can achieve our
        educational, research, and service missions only by creating and sustaining
        a diverse and inclusive environment.

        We are committed to promoting the many educational benefits, generation
        of new ideas and the innovations that flow from a diverse student body.

(Id.)

        26.    The Faculty Resolution recognizes that some of the educational benefits of

diversity include:

       (a)     Fostering vibrant classroom and campus enviromnents across all academic
disciplines;


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        (b)   Aiding in intellectual growth and the free exchange of ideas;

      (c)    Enabling the pursuit of solutions from many different perspectives and
grounded in many different life experiences; and

       (d)    The minimization of bias, which better prepares students for participation
in a multicultural society and a global economy.

(Id.)

        C.    The University reinforced its commitment to the educational benefits
              of diversity in the 2017 Provost's Report.

        27.   Following the Supreme Court's decision in Fisher II, the University

fonnalized its efforts to assess the University's progress toward realizing the educational

benefits of diversity.

        28.   Our goals were to: (1) make sure the University's diversity objectives are

defined as clearly as possible; (2) establish the best measures. by which to assess the

achievement of those objectives and to identify opportunities for continuous

improvement; (3) identify what data and infonnation-qualitative and quantitative-will

be necessary and helpful in the measurement of success and, as necessary, establish

processes for capturing that data; (4) evaluate ways to improve strategic coordination

among the entities that contribute to the achievement of the University's diversity

program; and (5) continue to evaluate the contribution of admissions to the achievement

of the University's diversity objectives.

        29.    On May 26, 2017, the Provost's office, under the leadership of my

predecessor, James W. Dean Jr., completed a report entitled "The Educational Benefits of

Diversity and Inclusion for Undergraduate Students at the University of North Carolina at



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Chapel Hill" ("Provost's Report") and submitted it to Chancellor Folt. (Ex. 34 (Provost's

Report), UNC0349694-712.)

       30.    I have fully embraced the Provost's Report. Indeed, I believe the Provost's

Report reaffinns the University's longstanding position on diversity and its educational

benefits and reflects a compilation and synthesis of many prior statements and

publications by the University regarding the educational benefits of diversity and

inclusion.

       31.    The Provost's Report reaffinned the University's commitment to diversity

and the importance of a diverse student body to the achievement of the University's

mission. Further, the report identified the specific educational benefits, essential to the

University's mission, deriving from diversity, including:

       (a)    Promoting the robust exchange of ideas;

       (b)    Broadening and refining understanding;

       (c)    Fostering innovation and problem solving;

       (d)    Preparing engaged and productive citizens and leaders; and

       (e)    Enhancing appreciation, respect, and empathy.

(Id. at UNC0349698-700.)

       32.    The Provost's Report recognized that in order to achieve the educational

benefits of diversity, it is necessary for the University to attract and enroll a diverse

student body. (Id. at UNC0349700.) To that end, the University devotes a great deal of

resources to pipeline programs, recruitment initiatives, financial aid programs, and




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student success efforts to build a body of talented students from all backgrounds. Many

of these programs are discussed in the Provost's Report. (Id. at UNC0349700-05.)

       D.     The University's admissions approach helps to achieve the educational
              benefits of diversity.

       33.    The University's admissions approach is an integral part of our ability to

provide the educational benefits of diversity.

       34.    I meet regularly with Stephen Fanner and discuss an array of issues related

to the University's undergraduate admissions philosophy and approach. Mr. Fanner

provides periodic updates regarding admissions outcomes to me and to other University

leaders, including the Chancellor and the Board of Trustees.

       35.    I pay close attention to our admissions strategies and outcomes so that I am

able to understand whether and how the University is fulfilling its goal of admitting a

strong class of students and meeting our legislative and UNC System mandates.

       E.     The University commits a great deal of resources to eliminate financial
              barriers to enrollment.

       36.    One critical aspect of our approach to admissions includes removing

financial barriers to enrollment at the University. We are proud to have a need-blind

admissions policy, which means we make admissions decisions about applicants without

regard to their financial means and their ability to afford a Carolina education. We also

meet the full financial need of every admitted student who applies and qualifies for

financial aid. This practice affords us the ability to enroll students from diverse

socioeconomic backgrounds.



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       37.    The University's commitment to financial aid represents an incredible

investment. In order to meet our financial aid commitments, the University often-on a

yearly basis-has to make tough decisions regarding how to allocate its limited financial

resources. In many cases, the use of those resources is restricted by the federal

government, the State of North Carolina, or donors who contributed funds. Directing

funds to student aid-in order to maintain our commitment to excellence, opportunity,

and diversity-necessarily means that we cannot direct those funds to other important

goals that would advance the University's mission.

       38.    Although the University receives gifts and donations on an annual basis and

maintains a large endowment, there are restrictions on our ability to make these funds

readily available for financial aid programs.

       39.    The use of donor funds is almost always restricted by donors to a specific

request or project, and we cannot deviate from gift restrictions without written consent

from the donor.

       40.    Presently, the vast majority of the University's endowment carries external

restrictions that limit the use of those funds to specific purposes. The very limited portion

of unrestricted endowment funds is allocated for recurring needs such as University

libraries, scholarships, fellowships, and other mission-critical purposes.

III.   The University demonstrates its commitment to the educational benefits of
       diversity through campus programming

       41.    We know that achieving the educational benefits of diversity requires that

we provide opportunities for students from different backgrounds to interact with one


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another, both in and out of the classroom. As Provost, I oversee numerous programs,

committees, and initiatives dedicated to creating and supporting these opportunities at the

University.

       42.    The University strives to foster a learning environment that leverages the

diversity of its student body through encouraging class discussions that feature diverse

perspectives, creating opportunities for collaboration and teamwork, and through course

offerings that focus on topics of diversity and inclusion.

       43.    We also support faculty-led diversity initiatives that cultivate the

educational benefits of diversity in the classroom, such as through the Center for Faculty

Excellence program regarding inclusive teaching.

       44.    Through our Division of Student Affairs, we offer our students programs

that provide opportunities for interaction outside the classroom with others who may

come from different backgrounds.

       45.    We pursue the educational benefits of diversity through the University

Office for Diversity and Inclusion, which operates a range of cultural programs, campus

activities, and support services.

       46.    As Provost, one of my goals is to ensure that the academic colleges and

other units reporting to me receive the institutional support needed to foster a diverse and

inclusive environment. I do this by regularly engaging with the individuals I supervise;

providing institutional and financial support where needed for efforts (such as those

described above) related to these issues; and regularly receiving feedback about the

classroom and campus experience of our students.

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IV.    The University is engaged in ongoing assessment of the educational benefits of
       diversity

       47.    Over the years, the University has engaged in assessment of its efforts to

realize the educational benefits of diversity. These assessments have included both the

collection and analysis of quantitative data tracking the diversity of our campus, as well

as learning about our students' experiences of diversity and inclusion through surveys

and in-person encounters. These assessments occur centrally, as well as within academic

departments and programs at the University.

       48.    For example, the Carolina Metrics project incorporates student and faculty

questionnaires and other campus data in order to assess the University's success in

achieving its academic priorities and goals. Carolina Metrics is an ongoing effort and has

been shared with the University Board of Trustees. (Ex. 62 (Carolina Metrics

Presentation), UNC0132974-90.)

       49.    Building upon these efforts and the 2017 Provost's Report, I convened the

Educational Benefits of Diversity and Inclusion Working Group ("EBD Working

Group"). The EBD Working Group is fonnally charged with coordinating and enhancing

the assessment of the University's ongoing efforts to realize the educational benefits of

diversity and inclusion for its undergraduate students.

       50.    I chair the EBD Working Group. Other members of the EBD Working

Group are campus leaders with skills and expertise across a variety of fields including

educational research and assessment; admissions; and student support.




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       51.    The EBD Working Group met six times beginning in December 2017 and

throughout the Spring 2018 academic semester. The EBD Working Group also met twice

during the Summer of 2018 and throughout the Fall 2018 academic semester.

       52.     We detailed our progress, discussions, and future plans in our June 25,

2018 Status Report, which we shared with University leadership, including Chancellor

Folt. (Ex. 64 (The Educational Benefits of Diversity & Inclusion Working Group, Status

Report for December 2017 - June 2018), UNC0380278-360.)

       53.    Our activities included adopting assessment principles and a framework to

guide our assessment work. We also inventoried and reviewed significant existing data

and analyses from across the campus community regarding the University's delivery of

the educational benefits of diversity.

       54.    The EBD Working group developed a fonnal assessment plan to enhance

the University's evaluation of its efforts to achieve the educational benefits of diversity

identified in the Provost's Report.

       55.    The EBD Working Group will continue to meet regularly, conduct its

planned assessments, and will communicate our progress to University leadership, as

well as to the broader University community.



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       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing

statements are true and correct.

       Executed on January J!{_, 2019.


                                                 Robert Blouin
                                                 Executive Vice Chancellor and Provost




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